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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         Case No. 21-cv-21079-BLOOM/OTAZO-REYES

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  _______________________________________________/

                                               ORDER

         THIS CAUSE came before the Court upon Defendant Guy Gentile’s (“Defendant”) Motion

  to Strike Letter Filed by Unrepresented, Nonparty Philip Dorsett (“Mr. Dorsett”) [D.E. 183]

  (hereafter, “Motion to Strike”) [D.E. 184]. This matter was referred to the undersigned pursuant

  to 28 U.S.C. § 636 by the Honorable Beth Bloom, United States District Judge [D.E. 64]. Plaintiff

  Securities and Exchange Commission (“Plaintiff”) has “indicated that it takes no position” as to

  the relief sought in the Motion to Strike [D.E. 184 at 6].

         “The Federal Rules of Civil Procedure contemplate that only those designated as parties

  may file motions and pleadings.” Commodity Futures Trading Comm. v. Oasis Int’l Grp., Ltd.,

  No. 8:19-cv-886-VMC-SPF, 2022 WL 1136571, at *2 (M.D. Fla. Apr. 18, 2022). “Where non-

  parties file unauthorized documents, as here, courts have found that [the authority to control their

  dockets] extends to striking the offending documents.” Id. at *3. Mr. Dorsett’s Letter is an

  unauthorized document filed by a non-party. Therefore, in the exercise of the Court’s authority to
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  control the docket in this case, the undersigned concludes that it is appropriate to strike the Letter.

  Accordingly, it is

         ORDERED AND ADJUDGED that Defendant’s Motion to Strike [D.E. 184] is

  GRANTED and Mr. Dorsett’s Letter [D.E. 183] is hereby STRICKEN.

         DONE AND ORDERED in Chambers at Miami, Florida, this 18th day of May, 2023.


                                                 ___________________________________
                                                 ALICIA M. OTAZO-REYES
                                                 UNITED STATES MAGISTRATE JUDGE


  cc:    United States District Judge Beth Bloom
         Counsel of Record

         Mr. Philip Dorsett
         pa.dorsett@gmail.com




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